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 PEARSON, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


  ANDREW ERDOS, et al.,                           )
                                                  )   CASE NO. 4:23CV0268
                      Plaintiffs,                 )
                                                  )
                      v.                          )   JUDGE BENITA Y. PEARSON
                                                  )
  NORFOLK SOUTHERN                                )
  CORPORATION, et al.,                            )   ORDER
                                                  )
                      Defendants.                 )


        TAKE NOTICE that on Monday, February 27, 2023 at 10:00 a.m., the Court will hear

 argument on whether a temporary restraining order shall issue pursuant to Plaintiffs’ Motion for

 Temporary Restraining Order and Preliminary Injunction (ECF No. 11). The hearing will be

 conducted electronically via Zoomgov.com.

        All lead counsel and knowledgeable representatives for Plaintiffs and Defendants must be

 electronically present via Zoomgov.com. Plaintiffs’ counsel is ordered to serve this Order along

 with its Motion on opposing counsel. Plaintiffs’ counsel shall share the Zoomgov.com meeting

 details with Defendants’ counsel. Counsel for both parties shall share the Zoomgov.com

 meeting details with all representatives expected to attend.



        IT IS SO ORDERED.


  February 24, 2023                                       /s/ Benita Y. Pearson
  Date                                                   Benita Y. Pearson
                                                         United States District Judge
